                            Case 1:21-cr-00382-PLF       Document 120    Filed 03/25/24   Page 1 of 13

Government
                                                   UNITED STATES OF AMERICA
Plaintiff
Defendant
Joint                                                         VS.                            Civil/Criminal No.   21-cr-382 (PLF)
Court                                                Christopher Warnagiris



 EXHIBIT             DESCRIPTION OF EXHIBITS               MARKED       RECEIVED              WITNESS             Notes
 NUMBER                                                    FOR I.D.         IN
                                                                        EVIDENCE
100 Series   General Evidence of the Capitol Grounds
             and the Riot on January 6th

101          J 6 Montage video with Carpenter (15min)


102          Map of Restricted Perimeter


103          Area Closed Signs and Barricades


104          Photo of Capitol with Snow Fencing in
             Forefront and Signs in Background

105          Area Closed Sign and Barricades


106          Map


107          Blueprint - Second Floor of Capitol
             Building


                                                                                                                                    1
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EXHIBIT              DESCRIPTION OF EXHIBITS                MARKED     RECEIVED             WITNESS
NUMBER                                                      FOR I.D.       IN
                                                                       EVIDENCE
108          Blueprint – House Chamber


109          Three-Dimensional Depiction of Capitol


110          Three-Dimensional Depiction of Capitol
             (Aerial)

111          East Front Time Lapse


200 Series   Secret Service Exhibits


201          HOS Notification – Visit of Vice President
             Michael Pence Mrs. Pence and Charlotte
             Pence to the U.S. Capitol (S-214_House
             and Senate Floors) on Wednesday January
             6 (PDF)
202          USSS HOS Notification – Vice President
             Pence 01.06.21 9 (REDACTED) (PDF)

203          USSS-3 – VP Pence departing Senate
             members staircase (public version).mp4

204          USSS-2 – East Side of the Capitol: VP
             vehicles moving

205          Radio Communication (14:14:42)


206          Radio Communication (14:20:19)



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EXHIBIT              DESCRIPTION OF EXHIBITS            MARKED     RECEIVED             WITNESS
NUMBER                                                  FOR I.D.       IN
                                                                   EVIDENCE
207          Radio Communication (14:21:49)


300 Series   U.S. Capitol CCTV Footage


301          Rotunda Lobby West


302          Rotunda Lobby East


303          Rotunda North


304          Rotunda South


305          Statuary Hall West


306          Statuary Hall East


307          House of Representatives Hallway North


308          House of Representatives Hallway East


309          Statuary Hall West


310          Statuary Hall East


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EXHIBIT              DESCRIPTION OF EXHIBITS          MARKED     RECEIVED             WITNESS
NUMBER                                                FOR I.D.       IN
                                                                 EVIDENCE
311          Rotunda North


312          Rotunda South


313          Rotunda Lobby East


314          Rotunda Lobby West


315          House Floor


316          East Front CCTV


400 Series   Open Source


401          YouTube-YPS News


402          Facebook Video (Sunny.dayz)


402A         Clip of Ex. 402


403          Facebook Video (Goulashjohnson)


403A         Clip of Ex. 403


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EXHIBIT           DESCRIPTION OF EXHIBITS            MARKED     RECEIVED             WITNESS
NUMBER                                               FOR I.D.       IN
                                                                EVIDENCE
404       Laura USA Capitol Washington Video


404A      Clip of Ex. 404


405       Nolan Cooke Video


406       Rumble Video 1 (Casper-J6)


407       [Intentionally left blank]


408       Vinceableworld Video


409       Getty Image (1230455143)-Outside Doors


410       Getty Image (1230455082)-Inside Doors


411       Miguel Lugo Photo


412       Getty Images-Bloomberg 1


413       Getty Images Bloomberg 1230455496


414       Getty Images Bloomberg 1230455490


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EXHIBIT           DESCRIPTION OF EXHIBITS          MARKED     RECEIVED             WITNESS
NUMBER                                             FOR I.D.       IN
                                                              EVIDENCE
415       Twitter Video (bresresports)


416       RGM News Video


416A      Clip of Ex. 416


417       Instagram Photo


418       Jayden X Video


419       YouTube-Huey Long


420       Capitol Hill Occupy Video


421       TheSteelTruth Facebook Video


421A      Clip of Ex. 421


422       Hector Vargas Video 1


423       Rahm III Video


424       Nguyen Tuan Facebook Video


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EXHIBIT           DESCRIPTION OF EXHIBITS          MARKED     RECEIVED             WITNESS
NUMBER                                             FOR I.D.       IN
                                                              EVIDENCE
425       Hector Vargas Video 2


426       YouTube-FNTV


426A      Clip of Ex. 426


427       Youtube-Stephen Ignoramus


428       Hector Vargas Video 3


429       Parler Video (uAKQeDMoSL0c)


430       Parler Video (9T1Wgyjt0vKj)


431       Last Rally Photo


432       Members in Gallery


433       VID_20210106_144402027


434       Garden of Eden Project video


435       Open source footage of East Rotunda
          Lobby

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EXHIBIT               DESCRIPTION OF EXHIBITS          MARKED     RECEIVED             WITNESS
NUMBER                                                 FOR I.D.       IN
                                                                  EVIDENCE
500 Series   Body Worn Camera


501          P/O Graves


502          P/o Johnson


503          P/O Lepe


504          P/O Mendoza


505          P/O Yi


506          P/O Lapitsky


507          P/O S.H.


600 Series   Search Warrant/Phone


601          Property Receipt (089B-WF-3368293-
             241_AFO_0000013_1A0000008_0000004)

602          Phone Report/Extraction


602A         Extracted pages from Ex. 602


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EXHIBIT          DESCRIPTION OF EXHIBITS          MARKED     RECEIVED             WITNESS
NUMBER                                            FOR I.D.       IN
                                                             EVIDENCE
603       3E9DBCAD-61D5-4423-9A50-
          5F5C55DD1A35_thumb.jpg

604       61BCEE62-C5DF-41A1-95CB-
          13E8C794EE32_thumb.jpg

605       5005_thumb.jpg


606       FullSizeRender_thumb.jpg


607       image0_thumb.jpg


608       IMG_7107_thumb.jpg


609       IMG_7108_thumb.jpg


610       IMG_7119_thumb.jpg


611       IMG_7122_thumb.jpg


612       IMG_7128_thumb.jpg


613       IMG_7134_thumb.jpg


614       IMG_7159_thumb.jpg



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EXHIBIT          DESCRIPTION OF EXHIBITS             MARKED       RECEIVED              WITNESS
NUMBER                                                FOR I.D.        IN
                                                                  EVIDENCE
615       IMG_7182_thumb.jpg


616       IMG_7231_thumb.jpg


617       IMG_8091_thumb.jpg


618       IMG_9130_thumb.jpg


619       IMG_9131_thumb.jpg


620       IMG_9454_thumb.jpg


621       IMG_9460_thumb.jpg


622       IMG_9461_thumb.jpg


623       IMG_9873_thumb.jpg


624       624-PhotosSearchSection-at_0_A67915A9-
          78EF-44F4-BB1A-8F7C216F712D _.png

625       625-PhotosSearchSection-at_0_A594785E-
          B1A0-47F7-BF60-3AF95AA170E8.png

626       PhotosSearchSection-at_0_FA76F93D-865F-
          4893-8FE9-4E91BF4425A7


                                                                                                           10
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EXHIBIT             DESCRIPTION OF EXHIBITS             MARKED       RECEIVED              WITNESS
NUMBER                                                   FOR I.D.        IN
                                                                     EVIDENCE
627          627-PhotosSearchSection-at_3_F0835C01-
             7F50-4D21-94CF-FE924EF65058

628          2d501d9299eb7431e03d02e2695.png


629          5008b2d7d4c972c26b5353cea8ff.png


630          c5464ed0c7ed340fb8ecbc9050ffd.png


631          c8f612bfaaa6caa3541097e1f93e.png


632          RPReplay_Final1609983434.mov.png


633          SW Photo-Backpack (DSCN0027.JPG)


634          SW Photo-Boots (DSCN0030.JPG)


635          SW Photo-Pants (DSCN0031.JPG)


636          SW Photo-MAGA Hat (DSCN0037.JPG)


637          SW Photo-SW Photo Indicator (DSCN0003)


700 Series   Congressional Exhibits



                                                                                                              11
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EXHIBIT             DESCRIPTION OF EXHIBITS             MARKED       RECEIVED              WITNESS
NUMBER                                                   FOR I.D.        IN
                                                                     EVIDENCE
701          Congressional Video Montage


702          12th Amendment


703          3 USC 15


704          3 USC 16


705          3 USC 17


706          3 USC 18


707          Congressional Resolution


708          Senate Recording Studio Certificate of
             Authenticity

709          House Recording Studio Certificate of
             Authenticity

710          Congressional Record - Senate


711          Congressional Record - House


800 Series   Safeway



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EXHIBIT           DESCRIPTION OF EXHIBITS           MARKED       RECEIVED              WITNESS
NUMBER                                               FOR I.D.        IN
                                                                 EVIDENCE
801       DC closure Email


802       Mid Atlantic Sales Report


803       PA Shipment


804       Safeway Business Record Certification


805       DC-1-DC Register


806       DC-2- Curfew Tweet




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